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                               IN THE UNITED STATES DISTRICT COURT
                                   NORTHERN DISTRICT OF TEXAS
                                         DALLAS DIVISION

ASSOCIATED RECOVERY,                                          §
                                                              §
                            Plaintiff,                        §
                                                              §
v.                                                            §    Civil Action No. 3:16-CV-1025-L
                                                              §    (Consolidated with Civil Action Nos.
JOHN DOES 1-44, et al.,                                       §    3:17- CV-424-L and 3:17-CV-651-L)
                                                              §
                            Defendants.                       §

                                MEMORANDUM OPINION AND ORDER

         Before the court are Plaintiff’s Motion for Leave for Substitute Service and Extend Period

for Service (Doc. 103), filed March 28, 2017; Defendant Lookout, Inc.’s Amended Motion to

Dismiss Under 12(b) (Doc. 129), filed June 14, 2017; the Motion to Dismiss Complaint (Doc. 132),

filed June 20, 2017, by Defendant Ye Yu with respect to internet domain fxf.com; and Consolidated

Defendants’ Rule 12(b) Motion to Dismiss Amended Complaint (Doc. 135), filed June 28, 2017,

which was joined in and adopted by Defendant Steve Fortuna (Doc. 143). Also before the court is

Buyers International Group, LLC’s Motion to Dismiss (Doc. 89), which was filed August 16, 2016,

in Civil Action 3:17-CV-651-L before the case was transferred to this court and consolidated with

this action.1

         For the reasons herein explained, the court grants in part and denies in part Defendants’

Motions to Dismiss under Rule 12(b)(6) (Docs. 129, 132, 135, 143); grants BIG’s Motion to


         1
           The magistrate judge in Civil Action 3:17-CV-651-L granted Buyers International Group, LLC’s (“BIG”)
alternative motion to transfer venue but left the motion to dismiss for this court to decide. After the case was transferred
to this court, BIG did not file an amended motion to dismiss or join in the other motions to dismiss filed in the
consolidated action. It instead chose to stand on the grounds asserted in its original motion to dismiss.


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Dismiss (Doc. 89) filed in Civil Action 3:17-CV-651-L; dismisses with prejudice all of Plaintiff’s

claims and requests for relief, except Plaintiff’s breach of contract claim, against the Movant

Defendants under Federal Rule of Civil Procedure 12(b)(6) for failure to state a claim upon which

relief can be granted. Further, except Plaintiff’s breach of contract claim, the court sua sponte

dismisses with prejudice all claims by Plaintiff with respect to the remaining internet domain names

and Defendants, many of which have not been served, as these claims are identical to those that the

court has already dismissed and determined to be fundamentally flawed in ruling on moving the

Movant Defendants’ motions to dismiss. Plaintiff’s request to amend its pleadings is granted with

respect to its breach of contract claim and denied in all other respects. Plaintiff’s Motion for Leave

for Substitute Service and Extend Period for Service (Doc. 103) is denied without prejudice as to

Defendants Floridians, LLC; Media Options, Inc.; News, Ltd.; and Sylvia O’Donohoe and denied

as moot as to all other Defendants.

I.       Factual and Procedural Background

         This consolidated action involves the court-approved sale and transfer of internet domain

names (“Domain Names”) at issue in this lawsuit from Novo Point, LLC (“Novo Point”) to various

individuals and entities or the predecessors-in-interest to those individuals and entities. The sales

and transfers of the Domain Names were authorized by former Senior United States District Judge

Royal Furgeson (“Judge Furgeson”) on February 4, 2011, January 31, 2012, and May 3, 2012, in

Netsphere, Inc., et al. v. Jeffrey Baron, et al., Civil Action 3:09-CV-988-L (“Netsphere Action” or

“Netsphere”),2 to pay receivership fees incurred in conjunction with the receivership established on



         2
             The Netsphere Action was assigned to the undersigned in June 2013 after Judge Furgeson retired.


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November 24, 2010, over Jeffrey Baron’s (“Baron”) personal property and entities he owned or

controlled, including Novo Point and Quantec, LLC (“Quantec”).

         A.       Netsphere Action

         The Netsphere Action was originally brought by Netsphere Inc., Manila Industries, Inc., and

Munish Krishan against Baron and Ondova Limited Company (“Ondova”) for breach of a settlement

agreement or Memorandum of Understanding (“MOU”) that was intended to settle all disputes

between the parties regarding the ownership and sale of various internet domains. The receivership

was established in November 2010 in an effort to control Baron’s vexatious litigation conduct in the

Netsphere Action and the related bankruptcy proceeding initiated by Baron’s company Ondova.3

         Baron and Novo Point filed numerous interlocutory appeals challenging the order

establishing the receivership order and orders subsequently entered by the district court pertaining

to the receivership, including the February 2011, January 2012, and May 2012 orders authorizing

the receiver’s sale and transfer of the Domain Names now at issue in this consolidated action. Baron

and Novo Point contended that the receivership orders entered by the district court were void and

unenforceable because the district court lacked jurisdiction to establish the receivership and seize

Baron’s and Novo Point’s assets. They also contended that Baron’s vexatious conduct did not justify

the imposition of the receivership or the seizure and liquidation of the assets of Novo Point, which

was not a party to the Netsphere Action.




         3
          A more detailed summary of the factual history of the Netsphere Action and appeals taken from orders entered
in that case, the related proceedings in the Ondovo bankruptcy, and the events that led to the establishment of the
receivership is included in Netsphere, Inc. v. Baron, 703 F.3d 296 (5th Cir. 2012) (“Netsphere I”); Netsphere, Inc. v.
Baron, 799 F.3d 327 (5th Cir. 2015) (“Netsphere II”); and Netsphere, Inc. v. Gardere Wynne Sewell, L.L.P, 657 F.
App’x 320 (5th Cir. July 8, 2016) (“Netsphere III”).


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        While the appeals were pending, the Fifth Circuit denied all of Baron’s and Novo Point’s

requests to stay the sales of the Domain Names that are now the subject of this consolidated action.

In Netsphere I, the Fifth Circuit addressed the numerous appeals in a December 18, 2012 opinion.

Netsphere, Inc., 703 F.3d at 315. Netsphere I considered whether a district court has authority to

establish a receivership to control a vexatious litigant like Baron and grant a receiver control of the

litigant’s assets “that were not at issue in the underlying litigation over domain names.” Id. at 305.

The Fifth Circuit agreed with Baron and Novo Point that the district court exceeded its authority in

establishing a receivership for this purpose and ordered the district court to “dissolve the receivership

expeditiously, but stopped short of immediately releasing all of the assets under receivership.”

Netsphere, Inc., 657 F. App’x at 321 (citing Netsphere, Inc., 703 F.3d at 313-14). In reversing the

order establishing the receivership, the Fifth Circuit in Netsphere I recognized that a district court

has inherent authority to control its docket and vexatious litigants like Baron but determined that,

in this case, the district court simply chose the wrong means to control Baron’s disruptive conduct.

Id. at 311. While Baron’s and Novo Point’s challenge on appeal to the order establishing the

receivership was successful, the Fifth Circuit in Netsphere I recognized that Baron was not blameless

for the chaotic situation that ultimately gave rise to the receivership. See id.

        “Netsphere I also considered who should pay for the receivership” and the fees and expenses

incurred as a result of the receivership. Netsphere, Inc., 657 F. App’x at 321. The court in

Netsphere I explained that, when a receivership is proper, the receivership fees and expenses are

generally “a charge upon the property administered.” Netsphere, Inc., 703 F.3d at 311. The court

noted that, “[w]hen a receivership is improper or the court lacks equitable authority to appoint a

receiver, the party that sought the receivership at times has been held accountable for the receivership


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fees and expenses.” Id. at 311-12 (citing W.F. Potts Son & Co. v. Cochrane, 59 F.2d 375, 377-78

(5th Cir. 1932)). Baron advocated this approach in Netsphere I, contending that the fees and

expenses incurred as a result of the receivership should not be paid out of the assets and property

seized, including the Domain Names already sold by the receiver, because the appointment of the

receiver was done in bad faith or the result of collusion. Netsphere, Inc., 703 F.3d at 313. The Fifth

Circuit disagreed and “ordered that the receivership assets be charged for ‘reasonable receivership

expenses’” because “the receivership was imposed as a result of Baron’s own vexatious conduct.”

Netsphere, Inc., 703 F.3d at 321 (citing Netsphere, Inc., 703 F.3d at 313). The Netsphere I court also

took “into account that, to a large extent, Baron’s own actions resulted in more work and more fees

for the receiver and his attorneys.” Netsphere, Inc., 703 F.3d at 313. As there was no indication that

the receivership was the result of an improper motive or malice, but instead was merely an attempt

to control Baron’s “vexatious litigation tactics,” the court in Netsphere I concluded that “charging

the current receivership fund for reasonable receivership expenses, without allowing any additional

assets to be sold, is an equitable solution,” id., and remanded the case with instructions for the

district court to wind up the receivership and pay the remaining receivership fees and expenses from

the cash currently in the receivership. Id. at 315. Additionally, the Fifth Circuit directed the district

court to reconsider, as appropriate, whether fees and expenses previously paid out of the receivership

fund should be reduced but did not reverse or vacate the prior orders that authorized the sales and

transfers of Domain Names or awarded fees and expenses paid from the cash in the receivership

fund, which was generated from the prior sales of Domain Names at issue in this case. Id. at 314-15.

        Novo Point appealed the decision in Netsphere I, contending that the Fifth Circuit erred in

concluding that equity permits a federal court to retain seized “property to pay the costs of imposing


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an unauthorized receivership” when the district court lacks jurisdiction to impose a receivership over

the property that is not the subject of the underlying claim or dispute. Pet. for Writ of Cert. at *2-6,

Novo Point, LLC v. Vogel, 2014 WL 2875526 (2014) (No. 13-1530) (footnote omitted). Novo

Point’s Petition for Writ of Ceriorari was denied by the United States Supreme Court on November

3, 2014. Novo Point LLC v. Vogel, 135 S. Ct. 436 (2014).

        On remand, Judge Furgeson entered an order in the Netsphere Action “in May 2013 awarding

new fees and adjusting fees already paid in an attempt to comply with [the Fifth Circuit’s] order.

However, the process of winding up the receivership was dragged out almost two more years after

Baron was pushed into an involuntary bankruptcy” by his former attorneys. Netsphere, Inc., 657 F.

App’x at 321. In March 2015, the undersigned entered an order discharging the receiver and

awarding additional fees to the receiver and the receiver’s attorneys and employees for services

performed from May 2013 until the receiver’s discharge. Id. at 322. These payments depleted the

remaining cash in the receivership accounts. Id. All other receivership assets and domain names

that had not been sold prior to the Fifth Circuit’s December 2012 opinion to fund the receivership

were returned to Baron, Novo Point, and Quantec as directed by the Fifth Circuit.

        Baron, Novo Point, and Quantec appealed the May 2103 and March 2015 district court

orders, as well as other orders. The initial appeal of the May 2013 order was dismissed by the Fifth

Circuit in Netsphere II for lack of appellate jurisdiction. Netsphere, Inc., 799 F.3d at 329. After the

March 2015 order was entered, two separate appeals were filed by attorneys and entities acting on

behalf of Baron, Novo Point, and Quantec on April 16, 2015, and April 25, 2015. The first appeal,

which was brought was brought on behalf of Baron, Novo Point, and Quantec, was dismissed as of

November 25, 2015, for want of prosecution. The second appeal filed by Novo Point and Quantec


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challenged the May 2013 and March 2015 fee orders and 26 other orders entered in Netsphere

between April 2011 and January 2014 that granted fee applications by the receiver and the receiver’s

attorneys and employees.

       In an opinion entered on July 8, 2016, in Netsphere III, the Fifth Circuit affirmed the orders

of the district court. Netsphere, Inc., 657 F. App’x at 324. Novo Point and Quantec had asserted a

number of challenges on appeal to the fee awards based on constitutional, reasonableness, and

subject matter jurisdiction grounds, but the Fifth Circuit held that they had waived these arguments

by not raising them in the district court. Id. at 333. While Novo Point and Quantec had objected to

the March 2015 order, its objections primarily concerned the computation of the amount of cash on

hand in the receivership, not the constitutional grounds raised on appeal, and they did not challenge

any specific fee award. Id. The Netsphere III court further concluded that any argument by Novo

Point and Quantec as to “whether fees could be charged against [their] assets in the receivership”

was squarely foreclosed by the law of the case doctrine” because Novo Point’s and Quantec’s “assets

were part of the receivership and Netsphere I ordered the district court to award fees using the

receivership assets.” Id. at 333, n.3. The Fifth Circuit, therefore, declined to revisit its prior

resolution of the receivership fees issue decided in Netsphere I. Id. (citing Af–Cap Inc. v. Republic

of Congo, 383 F.3d 361, 367 (5th Cir. 2004)).

       The Netsphere III court also rejected Novo Point’s and Quantec’s “jurisdictional arguments,”

concluding that the arguments “were not jurisdictional at all” but rather an attempt to repackage their

“merits arguments as jurisdictional to avoid the consequences of waiver.” Netsphere, Inc., 657 F.

App’x at 324. The Fifth Circuit explained that, contrary to Novo Point’s and Quantec’s contention,

it had jurisdiction over the appeal, and the district court had diversity jurisdiction over the contract


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dispute in Netsphere. The Netsphere III court clarified that Novo Point and Quantec “may think the

district court used that jurisdiction to decide parts of this case erroneously, but that does not

implicate subject-matter jurisdiction.” Id.

       As explained below, Plaintiff Associated Recovery, LLC (“Plaintiff” or “Associated

Recovery”) brought the various civil actions that make up this current consolidated action in late

2015 and early 2016 while Novo Point’s appeal in Netsphere III was pending.

       B.      Consolidated Action No. 3:16-CV-1025-L

               1.      Relief Requested by Plaintiff in Consolidated Action

        In this consolidated action, Associated Recovery alleges that it is suing as the assignee of

Novo Point, pursuant to a written assignment in which Novo Point assigned its ownership of and all

rights to the Domain Names to Associated Recovery, including any right to trademark protection and

causes of action. The Third Amended Complaint (“Third Amended Complaint” or “Complaint”)

filed by Plaintiff in this consolidated action includes legal claims and equitable requests for relief

against all of the individuals and entities named as defendants in this consolidated action

(collectively, “Defendants”) that Plaintiff alleges are the current registrants or registrars for the

Domain Names that were unlawfully seized in Netsphere as receivership assets and sold or

transferred to Defendants or Defendants’ predecessors-in-interest without Novo Point’s permission

or knowledge. In a nutshell, Plaintiff contends that, because the Fifth Circuit’s ruling in Netsphere

I invalidated the receivership order and orders approving the sales of the Domain Names, it is

entitled recover all rights and title to the Domain Names, as if the sales of the Domain Names never

took place, without compensating the parties that purchased the Domain Names. See Pl.’s Resp. to

BIG’s Mot. to Dismiss 1-3 (Doc. 98). Alternatively, or in addition to the return of the Domain


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Names, Plaintiff contends that it is entitle to recover damages and all profits made by Defendants

on the Domain Names.

       Specifically, Associated Recovery asserts claims and requests for relief based on the Federal

Declaratory Judgment Act, 28 U.S.C. § 2202; the Anticybersquatting Consumer Protection Act

(“ACPA”), 15 U.S.C. §1125(d); unfair competition and common law trademark infringement;

conversion; and unjust enrichment. With respect to these claims and its equitable requests for relief,

Associated Recovery seeks the transfer of all Domain Names from Defendants to Associated

Recovery in addition to an award consisting of Defendants’ profits and actual damages sustained by

Associated Recovery and Baron, Novo Point’s predecessor-in-interest, or, alternatively, an award

of statutory damages of not less than $10,000 and not more than $100,000 per Domain Name;

imposition of a constructive trust on Defendants’ profits; and unspecified injunctive relief. In

addition, Associated Recovery seeks declaratory relief in the form of an order: (1) declaring that the

district orders in the Netsphere litigation authorizing the sale of the Domain Names are void ab initio

such that none of the sales or transfers of ownership of the Domain Names ever divested Novo Point

of any right, title, or ownership interest to the Domain Names; (2) declaring that Novo Point’s

transfer of ownership of the Domain Names to Associated Recovery is valid; (3) requiring

Defendants to transfer the Domain Names to Associated Recovery; and (4) quieting Associated

Recovery’s title to the Domain Names. In the alternative, Associated Recovery asserts claims

against Defendants SocialBon, Inc.; Floridians, LLC; Media Options, Inc.; Strong, Inc.; Telepathy,

Inc.; News, Ltd.; JRS Holdings, LLC; Sylvia O’Donohoe; Virtual Investments, LLC; and Quinn

Vesey for: (1) breach of contract to recover attorney’s fees under Chapter 38 of the Texas Civil

Practices and Remedies Code and actual damages for “any and all Losses arising out of, based upon


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or relating to any of the Domain Names,” pursuant to an indemnification clause included in the

agreement assigning and transferring the Domain Names, Pl.’s Compl. ¶¶ 6, 49; and (2) intentional

interference with an existing contract to recover actual damages allegedly incurred by Novo Point

as a result of these Defendants’ intentional interference “with Novo Point’s contractual relationship

with the domain name registrar through which it had registered those Domain Names with a domain

name registry.” Id. ¶ 50.

        Except for Plaintiff’s breach of contract claim, all of the claims asserted by Plaintiff in this

consolidated action against Defendants are based on the premise that the Netsphere receiver’s sales

and transfers of Domain Names to Defendants or Defendants’ predecessors-in-interest and the

district court orders authorizing the sales and transfers are void, of no legal effect, and never divested

Novo Point of any right, title, or ownership interest in the Domain Names because Novo Point

appealed the district court’s orders that authorized the receiver to sell the Domain Names, and the

Fifth Circuit decided this issue in Novo Point’s favor as follows:

        29. On December 18, 2012, the U.S. Court of Appeals for the Fifth Circuit issued
        a single opinion concerning numerous appeals of each of the above-referenced orders
        of the District Court . . . .

        30. In the opinion, the Fifth Circuit reversed each of the orders, instructed the
        District Court to vacate each of the orders, and explained that the District Court never
        had subject-matter jurisdiction over any of the domain names or any power to issue
        any of the orders because no issue concerning any such domain name had ever been
        raised in the civil action independently from those pertaining to the
        receivership-related orders, and Novo Point had never even been a party in the action.

        31. On April 19, 2013, the Fifth Circuit reversed each of the District Court’s above
        referenced orders [orders establishing the receivership and approving the sales of
        Domain Names] through a separate judgment with respect to each appeal of each
        such order and the mandate on each such judgment.




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Pl.’s Compl. ¶¶ 29-31 (internal citations omitted). Plaintiff further alleges that this court’s February

28, 2014 order in Netsphere vacating the April 22, 2011 order appointing Damon Nelson as the

manager of Novo Point’s Domain Names, and this court’s opinion in Baron v. Schurig, No. 3:13-

CV-3461-L, 2014 WL 25519 (N.D. Tex. Jan. 2, 2014), lend further support to the conclusion that

the Netsphere receiver’s sales and transfers of Domain Names to Defendants or Defendants’

predecessors-in-interest and the district court orders authorizing the sales and transfers are void, of

no legal effect, and never divested Novo Point of any right, title, or ownership interest in the Domain

Names.

                  2.        Transfer and Consolidation of Virginia and Marshall Actions

         This consolidated action includes Defendants from two separate federal actions that

Associated Recovery originally filed in the Eastern District of Virginia, Alexandria Division

(“Virginia Action”), and the Eastern District of Texas, Marshall Division (“Marshall Action”). As

herein explained, other Defendants were added after these cases were transferred to this court and

consolidated into one action. Plaintiff filed the Virginia Action, Associated Recovery, LLC v. John

Does 1-44, et al., Civil Action No. 1:15-CV-1723, on December 31, 2015, against John Does 1-44

and 44 associated internet domain names. On March 4, 2016, Associated Recovery moved for

default judgment in the Virginia Action against domain names 744.com; 3dcamera.com; fxf.com;

jtz.com; kou.com; ocu.com; ruten.com; sdu.com; uhw.com; vgi.com; yey.com; yjx.com; ylz.com;

and yte.com with respect to the ACPA claim asserted in that action, and a default judgment was

entered with respect to these domain names on May 18, 2016.4


         4
           The ACPA allows the owner of a mark asserting a claim for cyberquatting to file an “in rem civil action against
a domain name in the judicial district in which the domain name registrar, domain name registry, or other domain name
authority that registered or assigned the domain name is located” when certain requirements are satisfied. See 15 U.S.C.

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         The Virginia Action was transferred in stages to the Northern District of Texas, Dallas

Division between April 15, 2016, and February 14, 2017, after various motions to transfer venue to

the Northern District of Texas were granted.5 The transfer of the Virginia Action resulted in two

actions being opened in this district: 3:16-CV-1025-L and 3:17-CV-424-L. Initially, all defendants

in the Virginia Action, except those against whom Plaintiff had moved for default judgment, were

transferred to this district. After the default judgment against 744.com; fxf.com; jtz.com; ocu.com;

vgi.com; yjx.com; and yte.com was set aside, Plaintiff’s claims as to these in rem domain name

defendants were also transferred to this district by orders dated April 15, 2016; July 1, 2016; and

February 14, 2017. The claims against the defaulting defendant domain names 3dcamera.com;

kou.com; ruten.com; sdu.com; uhw.com; yey.com; and ylz.com were not transferred to the Northern

District of Texas, as the final judgment that was entered against these defendants in the Virginia

Action was not set aside and obviated the need to transfer Plaintiff’s claims against these

defendants.6

         Associated Recovery filed the Marshall Action, Associated Recovery, LLC v. Linda Butcher,

et al., Civil Action No. 2:16-CV-126, on February 8, 2016, against 64 named defendants identified


§ 1125(2)(A). According to the proposed findings and conclusions entered by the magistrate judge in the Virginia Action
on March 25, 2016, Associated Recovery sought entry of default judgment against the domain names identified but not
the corresponding John Doe Defendants associated with the domain names.
         5
            United States District Judge Anthony J. Trenga determined that transfer to the Northern District of Texas was
appropriate in light of: (1) the long history of litigation in this district involving Baron, Novo Point, and the receivership
assets; (2) the order entered by this court in the Netsphere Action retaining jurisdiction over issues raised in the Virginia
Action; (3) the forum selection clauses in certain agreements assigning and transferring the Domain Names that required
all disputes arising from the agreements to be adjudicated in the Northern District of Texas, Dallas Division or the state
district courts of Dallas County, Texas; and (4) the related action filed in federal court in Texas by Associated Recovery.
         6
            Although default judgment was entered as to these domain names by the district court in the Virginia Action,
Plaintiff’s Third Amended Complaint includes certain Defendants in this action, either as named Defendants or John
Does, that are alleged to be the registrars or registrants of the domain names against which default judgment was
previously sought and obtained.

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as registrants of the Domain Names. Like the Virginia Action, several defendants in the Marshall

Action moved to transfer venue to this district. The Marshall Action was transferred to the Northern

District of Texas, Dallas Division, on March 6, 2017, and assigned the Civil Action No. 3:17-CV-

651-L. Before the Marshall Action was transferred to this district, 22 of the defendants were

terminated as parties, leaving the following 44 defendants (“Marshall Defendants”): Linda Butcher;

CBRE Group, Inc.; Vivian Rosenthal; William Wolfson; PriveCo, Inc.; Steve Parma; Sol Perlstein;

Radical Investments Management, LLC; Tumult, Inc.; DGB Partner, Inc.; TobyClements.com, LLC;

True Magic, LLC; Janno, LLC; Power Home Technologies, LLC; Lookout. Inc.; Slice Technology,

Inc. f/k/a Project Slice, Inc.; Steve Fortuna; SocialBon, Inc.; Floridian, LLC; MOINC-US; Adam

Strong; Strong, Inc.; Telepathy, Inc.; News, Ltd.; Worldwide Retailing, LLC; State Farm Mutual

Automobile Insurance Company;             Electronic Arts, Inc.; Virtual Investments, LLC; Sylvia

O’Donohoe; JRS Holdings, LLC; All-Pro Fasteners, Inc.; Buyers International Group, LLC; Creation

Media, LLC; Dharshinee Naidu; Kate Spade; Quinn Veysey; Alansis Corporation; Media Options,

Inc.; Fantasy Spin Game, LLC; GoldRun, Inc.; Alansis.com Incorporated.

        On March 10, 2017, the court entered an order in Civil Action 3:17-CV-651-L, requiring

Plaintiff to show cause why its claims against Vivian Rosenthal; William Wolfson; Steve Parma;

Sol Perlstein; TobyClements.com, LLC; Janno, LLC; Steve Fortuna; SocialBon, Inc.; Floridian,

LLC; MOINC-US; News, Ltd.; Worldwide Retailing, LLC; Sylvia O’Donohoe; JRS Holdings, LLC;

Dharshinee Naidu; Kate Spade; and GoldRun, Inc. should not be dismissed under Federal Rule of

Civil Procedure 4(m) for failure to effect service within 90 days.7 On March 30, 2017, Plaintiff filed



        7
        Vivian Rosenthal, MOINC-US, Steve Parma, and Kate Spade are not included as Defendants in Plaintiff’s
Third Amended Complaint and, therefore, are no longer parties to this action.

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documents indicating that two summons were previously returned as executed with respect to

SocialBon, Inc. and JRS Holdings, LLC. As to these and other Defendants included in the Third

Amended Complaint that remain unserved, Plaintiff moved for leave on March 28, 2017, for an

extension to May 15, 2017, to serve “a few” of these Defendants by personal service or mail using

newly obtained addresses and requested that it be allowed to serve the remaining of these Defendants

by substitute service in the form of an e-mail or publication on a domain name trade message board

(Doc. 103). Plaintiff did not identify which of the unserved Defendants it seeks to serve by means

of substitute service. Plaintiff justified its delay and request for relief in part on the court’s

consolidation of Civil Action No. 3:17-CV-651-L with Civil Action No. 3:16-CV-1025-L, which

Plaintiff asserts will necessitate the filing of an amended complaint in the consolidated action.

        The consolidation of cases referenced by Plaintiff occurred on March 23, 2017. The

consolidation order entered by the court in consolidated Civil Action Nos. 3:17-CV-424-L and

3:17-CV-651-L with Civil Action No. 3:16-CV-1025-L and directed Plaintiff to notify the court in

writing by March 31, 2017, whether there were any other pending cases or cases that Plaintiff

anticipated filing in the coming year that involved or would involve claims pertaining to receiver’s

sale of domain names in the Netsphere litigation. In a March 30, 2017 Notice, Plaintiff indicates its

intent to bring one or more additional in rem actions in federal or state court in the next year, but,

to date, it does not appear that any such cases have been filed. Plaintiff also indicates that it intends

to refile actions if the court denies its Motion for Leave for Substitute Service and Extend Period for

Service and dismisses without prejudice any Defendants. Regarding the defendants in the Virginia

Action against whom default judgment was entered, Plaintiff states that “there are no additional

claims against [these] defendants remaining in the Virginia Action,” but the claims against these


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defendants could be transferred to this court if the defendants were to make an appearance in the

Virginia Action. Notice 3. Plaintiff further states that there were additional defendants in the

Virginia Action who had not made an appearance but were transferred to this court because motions

for default judgment against these defendants had not been filed in the Virginia Action. Plaintiff

reasons that any motions for default judgment against these defendants would be brought in this

court, not the Virginia Action.

               3.      Domain Names and Defendants Included in Third Amended Complaint

       On March 23, 2017, the court also ordered Plaintiff to filed an amended consolidated

pleading that set forth all of its claims against all Defendants in this consolidated action. This

deadline was subsequently extended to May 31, 2018. After filing its Third Amended Complaint

on May 31, 2018, Plaintiff filed another Third Amended Complaint without leave of court on June

1, 2018. The two filings appear to be identical, except the second filing includes eleven attachments

consisting of 139 pages of documents that were previously filed in the Netsphere Action and appeals

to the Fifth Circuit of orders entered in Netsphere. Although filed after the deadline set by the court,

no Defendant objected to the Third Amended Complaint filed on June 1, 2017, and the court

determines that no Defendant suffered any legal prejudice as a result of the filing. Accordingly, the

Third Amended Complaint (Doc. 123), filed on June 1, 2017, is the operative live pleading for

purposes of ruling on the motions to dismiss filed by Defendants.

       Plaintiff’s Complaint includes a significantly larger number of additional Domain Names and

named Defendants that were not previously included in prior pleadings in this court or the transferred

actions. All Domain Names and Defendants now at issue in this consolidated action are included

in paragraph nine of the Complaint, except John Doe 26, which is referenced in paragraph 2xx of


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the Complaint and appears to have been inadvertently omitted from the list in paragraph nine. John

Doe 26 is associated with the Domain Name wyd.com that was included in Plaintiff’s Complaint in

the Virginia Action and transferred to this court. Defendants referenced in the Complaint are either

the registrants or registrars for the Domain Names listed. Because of the numerosity of the Domain

Names and Defendants included in the Complaint, the court, instead of listing them all in this

opinion, attaches as Exhibit A to this opinion the list of 206 Domain Names and corresponding

Defendants included in paragraph nine of the Complaint, to which the court added John Doe 26 and

wyd.com. Apparently for the same reason, the clerk of the court did not include all Domain Names

or the corresponding Defendants on the docket sheet in this consolidated action. There is no

indication from the docket sheet in this consolidated action whether the newly added Defendants

have been served, although approximately nine months have passed since Plaintiff filed its Third

Amended Complaint.

               4.      Pending Motions to Dismiss

       On June 14, 2017, Defendant Lookout, Inc. (“Lookout”) moved to dismiss Plaintiff’s claims

for lack of standing; failure to state a claim; and, alternatively, failure to join a necessary party.

Lookout also contends that Plaintiff’s claims are barred by res judicata or claim preclusion; collateral

estoppel or issue preclusion; statute of limitations; and laches.

       On June 28, 2017, Quinn Veysey; Priveco, Inc.; Virtual Investments, LLC; Telepathy, Inc.;

Strong, Inc.; Adam Strong; Creation Media, LLC; Unicorn Ranch, LLC (in lieu of Onig, LLC); True

Magic, LLC; CBRE Group, Inc.; Power Home Technologies, LLC; Electronic Arts Inc.; State Farm

Mutual Automobile Insurance Company; Tumult, Inc.; Radical Investments Management, LLC;

Alansis.Com, Inc.; All-Pro Fasteners, Inc.; Fantasy Spin Game LLC; Slice Technologies, Inc.; DBG


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Partners, Inc.; Linda Butcher; 028.com; 744.com; fny.com; jtz.com; kgj.com; kmq.com; kxq.com;

kxw.com; lnm.com; luohe.com; meq.com; ocu.com; pixie.com; qmh.com; sqg.com; vcz.com;

vgj.com; wyd.com; xaq.com; xff.com; xsg.com; ycx.com; ygx.com; yjr.com; yjx.com; yqp.com;

yqt.com; yrn.com; yte.com; yyg.com; zdp.com; zhd.com; zulin.com; and zzm.com8 (“Consolidated

Defendants”) moved to dismiss under Rule 12(b), contending that Plaintiff’s claims are barred by

applicable statute of limitations, collateral estoppel, failure to state a claim, and failure to join a

necessary party. Defendant Steve Fortuna joined in and adopted Consolidated Defendants’ motion

to dismiss. (Doc. 143).

         On June 20, 2017, pro se Defendant Ye Yu, who is associated with Domain Name fxf.com

moved to dismiss Plaintiff’s claims, contending that Plaintiff’s claims are frivolous and baseless

because Plaintiff cannot satisfy the requirements for cybersquatting under the ACPA, and contrary

to Plaintiff’s assertion, neither the district orders authorizing the Domain Name sales nor the sales

of the Domain Names were reversed by this court or the Fifth Circuit but instead were upheld and

used to pay the attorney’s fees incurred as a result of Baron’s litigious conduct. Ye Yu contends that

the relief sought by Plaintiff—return of the Domain Names without payment or compensation to

Defendants—is the equivalent of requiring the purchasers of the Domain Names to pay for Baron’s

attorney’s fees in a case in which he was labeled as vexatious litigant. Ye Yu asserts that it would

also reward Baron’s conduct by allowing Associated Recovery, a shell company likely created by

Baron to bring this lawsuit and avoid any liability incurred by Associated Recovery, to reap the

profits generated by the current Domain Name owners as a result of their investment of time and



         8
           Because the domain names are not listed as Defendants in this consolidated action and only referenced with
respect to the corresponding named Defendants and John Doe Defendants, the court treats the motion by these Domain
Names as a motion by the named Defendants and John Doe Defendants that correspond to these Domain Names.

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financial resources. Ye Yu contends that such a result would be inequitable. In addition, Ye Yu

contends that the action should be dismissed because service as to him was defective, and Plaintiff

failed to join necessary parties Novo Point and Baron. Ye Yu contends that Baron should have some

“skin in the game” because he is the real beneficiary of Associated Recovery and the person

“pull[ing[ the string[s]” of Associated Recovery. Ye Yu Resp. 16. Ye Yu maintains that, even if

the court required Associated Recovery to compensate the current Domain Name owners as a

condition of transferring the Domain Names, Associated Recovery could avoid paying Defendants

by filing for bankruptcy if Novo Point and Baron are not joined as parties to this action. Ye Yu also

joined the arguments made by Lookout and the Consolidated Defendants. As noted, BIG also moved

to dismiss, based on collateral estoppel and other grounds, Plaintiff’s claims against it (Doc. 89) on

August 16, 2016, in Civil Action 3:17-CV-651-L, before the case was transferred to this court and

consolidated with this action. The court refers collectively to all Defendants that filed motions to

dismiss as “Movant Defendants.”

       As the court determines that Movant Defendants’ contention under Rule 12(b)(6) that all

claims asserted by Associated Recovery in this consolidated action are barred by collateral estoppel

is dispositive as to all claims asserted by Plaintiffs, except its breach of contract claim, which the

court addresses separately, its analysis focuses on these issues. The court is familiar with and aware

of the extensive litigation surrounding the receivership, the domain names associated with Novo

Point, and the inconsistent positions taken in various proceedings by Novo Point, Baron, and others

acting on their behalf regarding which entities or persons own or have authority to control Novo

Point and its assets. The court is also well aware of Baron’s litigious conduct in hiring, firing, and

refusing to pay attorneys and putting his companies in bankruptcy to avoid liability. Accordingly,


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Movant Defendants’ concerns regarding the nonjoinder of Novo Point and Baron as parties in this

action are not unfounded. The court, however, believes that its resolution of the issues raised and the

claims asserted in this case will preclude future litigation by Novo Point or purported assignees and

predecessors of Novo Point related to the sales and transfers of Domain Names. Further, although

based on Rule 12(b)(1), the standing arguments raised by the Movant Defendants actually concern

Associated Recovery’s statutory standing, not Article III standing. Consequently, the court need not

address these standing arguments before considering whether dismissal under Rule 12(b)(6) is

appropriate. See Blanchard 1986, Ltd. V. Park Plantation, LLC, 553 F.3d 405, 409 (5th Cir. 2008)

(distinguishing between statutory and Article III standing); see also Taylor v. Acxiom Corp., 612

F.3d 325, 339-40 (5th Cir. 2010) (“We need not address the statutory standing issue because we have

affirmed the district court’s dismissal under Rule 12(b)(6).”) (citations omitted).

II.     Standard for Rule 12(b)(6) - Failure to State a Claim

        To defeat a motion to dismiss filed pursuant to Rule 12(b)(6) of the Federal Rules of Civil

Procedure, a plaintiff must plead “enough facts to state a claim to relief that is plausible on its face.”

Bell Atlantic Corp. v. Twombly, 550 U.S. 544, 570 (2007); Reliable Consultants, Inc. v. Earle, 517

F.3d 738, 742 (5th Cir. 2008); Guidry v. American Pub. Life Ins. Co., 512 F.3d 177, 180 (5th Cir.

2007). A claim meets the plausibility test “when the plaintiff pleads factual content that allows the

court to draw the reasonable inference that the defendant is liable for the misconduct alleged. The

plausibility standard is not akin to a ‘probability requirement,’ but it asks for more than a sheer

possibility that a defendant has acted unlawfully.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009)

(internal citations omitted). While a complaint need not contain detailed factual allegations, it must

set forth “more than labels and conclusions, and a formulaic recitation of the elements of a cause of


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action will not do.” Twombly, 550 U.S. at 555 (citation omitted). The “[f]actual allegations of [a

complaint] must be enough to raise a right to relief above the speculative level . . . on the assumption

that all the allegations in the complaint are true (even if doubtful in fact).” Id. (quotation marks,

citations, and footnote omitted). When the allegations of the pleading do not allow the court to infer

more than the mere possibility of wrongdoing, they fall short of showing that the pleader is entitled

to relief. Iqbal, 556 U.S. at 679.

        In reviewing a Rule 12(b)(6) motion, the court must accept all well-pleaded facts in the

complaint as true and view them in the light most favorable to the plaintiff. Sonnier v. State Farm

Mutual Auto. Ins. Co., 509 F.3d 673, 675 (5th Cir. 2007); Martin K. Eby Constr. Co. v. Dallas Area

Rapid Transit, 369 F.3d 464, 467 (5th Cir. 2004); Baker v. Putnal, 75 F.3d 190, 196 (5th Cir. 1996).

In ruling on such a motion, the court cannot look beyond the pleadings. Id.; Spivey v. Robertson, 197

F.3d 772, 774 (5th Cir. 1999). The pleadings include the complaint and any documents attached to

it. Collins v. Morgan Stanley Dean Witter, 224 F.3d 496, 498-99 (5th Cir. 2000). Likewise,

“‘[d]ocuments that a defendant attaches to a motion to dismiss are considered part of the pleadings

if they are referred to in the plaintiff’s complaint and are central to [the plaintiff’s] claims.’” Id.

(quoting Venture Assocs. Corp. v. Zenith Data Sys. Corp., 987 F.2d 429, 431 (7th Cir. 1993)). In

this regard, a document that is part of the record but not referred to in a plaintiff’s complaint and not

attached to a motion to dismiss may not be considered by the court in ruling on a 12(b)(6) motion.

Gines v. D.R. Horton, Inc., 699 F.3d 812, 820 & n.9 (5th Cir. 2012) (citation omitted). Further, it

is well-established and ‘“clearly proper in deciding a 12(b)(6) motion [that a court may] take judicial

notice of matters of public record.”’ Funk v. Stryker Corp., 631 F.3d 777, 783 (5th Cir. 2011)




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(quoting Norris v. Hearst Trust, 500 F.3d 454, 461 n.9 (5th Cir. 2007) (citing Cinel v. Connick, 15

F.3d 1338, 1343 n.6 (5th Cir. 1994)).

       The ultimate question in a Rule 12(b)(6) motion is whether the complaint states a valid claim

when it is viewed in the light most favorable to the plaintiff. Great Plains Trust Co. v. Morgan

Stanley Dean Witter, 313 F.3d 305, 312 (5th Cir. 2002). While well-pleaded facts of a complaint

are to be accepted as true, legal conclusions are not “entitled to the assumption of truth.” Iqbal, 556

U.S. at 679 (citation omitted). Further, a court is not to strain to find inferences favorable to the

plaintiff and is not to accept conclusory allegations, unwarranted deductions, or legal conclusions.

R2 Invs. LDC v. Phillips, 401 F.3d 638, 642 (5th Cir. 2005) (citations omitted). The court does not

evaluate the plaintiff’s likelihood of success; instead, it only determines whether the plaintiff has

pleaded a legally cognizable claim. United States ex rel. Riley v. St. Luke’s Episcopal Hosp., 355

F.3d 370, 376 (5th Cir. 2004). Stated another way, when a court deals with a Rule 12(b)(6) motion,

its task is to test the sufficiency of the allegations contained in the pleadings to determine whether

they are adequate enough to state a claim upon which relief can be granted. Mann v. Adams Realty

Co., 556 F.2d 288, 293 (5th Cir. 1977); Doe v. Hillsboro Indep. Sch. Dist., 81 F.3d 1395, 1401 (5th

Cir. 1996), rev’d on other grounds, 113 F.3d 1412 (5th Cir. 1997) (en banc). Accordingly, denial

of a 12(b)(6) motion has no bearing on whether a plaintiff ultimately establishes the necessary proof

to prevail on a claim that withstands a 12(b)(6) challenge. Adams, 556 F.2d at 293.




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III.   Analysis

       A.      Collateral Estoppel or Issue Preclusion

               1.      Movant Defendants’ Contentions

       Based on the Fifth Circuit’s December 18, 2012 opinion in Netsphere and the Fifth Circuit’s

subsequent affirmance of orders entered by this court in winding down the receivership in Netsphere,

Movant Defendants contend that Associated Recovery is precluded from relitigating the issue that

its predecessors-in-interest Novo Point and Baron argued and lost in Netsphere regarding the

receiver’s sale and transfer of Domain Names at issue in this case. Movant Defendants contend that

the judgment in Baron, et al. v. Vogel, et al., Civil Action No. 3:15-CV-232-L, and the Fifth

Circuit’s affirmance of the judgment in that case similarly support their collateral estoppel argument.

Movant Defendants, therefore, contend that all of the claims asserted by Associated Recovery in this

action, which are premised on the validity of the receiver’s sale and transfer of Domain Names and

related orders entered by the district court authorizing the sales, are barred by federal collateral

estoppel or issue preclusion.

       Movant Defendants contend that all of the requirements for collateral estoppel are satisfied

because the issues raised by Associated Recovery in this case are the same as those previously

litigated and resolved in Netsphere, and the resolution of these issues was necessary to the judgment

entered in that case. According to Movant Defendants, Associated Recovery contends in this case,

as its predecessors-in-interest Novo Point and Baron did in Netsphere, that the imposition of the

receivership over Baron’s and Novo Point’s assets and the sale of the Domain Names as part of the

receivership were improper. In this regard, Movant Defendants contend that Baron and Novo Point

argued on appeal in Netsphere, as Associated Recovery argues now, that the receivership order and


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orders authorizing the receiver’s sale of Domain Names were improper, and Baron expressly sought

to recover the costs of the receivership and asked for “the return of all property” and “receivership

assets disbursed while the matter has been on appeal.” Consolidated Defs.’ Mot. to Dismiss Br. 9

(citing and quoting Br. of Appellant Baron at 69-71, Netsphere v. Baron, No. 10-11202 (5th Cir.

March 28, 2011); and Reply Br. of Appellant Baron at 69-71, Netsphere v. Baron, No. 10-11202 (5th

Cir. July 15, 2011)). Movant Defendants, therefore, contend that the issues raised by Associated

Recovery in its Complaint are identical to those raised and previously resolved by the Fifth Circuit.

       Movant Defendants further assert that Plaintiff’s contention that the receiver’s sales of

Domain Names and district orders authorizing the sales are void ab initio or were reversed by the

Fifth Circuit is not supported by the record or the Fifth Circuit’s December 18, 2012 opinion in

Netsphere. Movant Defendants maintain that, while the Fifth Circuit ordered that “[n]o further sales

of domain names or other assets are authorized,” it made no provision for the return of Domain

Name assets to Baron or Novo Point that had already been sold as part of the receivership and did

not order any restitution be paid to Baron or Novo Point for the Domain Names that had already been

sold. Lookout Mot. to Dismiss Br. 7-8. Movant Defendants contend that the Fifth Circuit, instead,

concluded that the equitable solution, given Baron’s “longstanding vexatious ligitation tactics,” was

to charge the receivership fund for reasonable receivership expenses without allowing any additional

assets to be sold. Consolidated Defs.’ Mot. to Dismiss Br. 8 (citing Netsphere Inc., 703 F.3d at

310-13). Movant Defendants maintain that the Fifth Circuit’s decision in Netsphere I to not dissolve

the receivership immediately, its denial of Novo Point’s and Baron’s requests to stay the sales of the

Domain Names pending appeal, and its decision in Netsphere III lend further support to the

conclusion that Plaintiff’s claims, which were alleged to have been assigned to it by Novo Point, are


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barred collateral estoppel. Movant Defendants contend that, because Associated Recovery’s rights

and claims arise from the alleged assignment from Novo Point, Associated Recovery stands in shoes

of Novo Point and has no greater rights than Novo Point or Baron to litigate issues that have already

been decided against Novo Point or Baron.

               2.      Plaintiff’s Contentions

       Plaintiff disagrees that the judgments relied on by Movant Defendants support their

arguments regarding collateral estoppel. Plaintiff contends in response to BIG’s motion that its

claims and request for return of the Domain Names are supported by the Fifth Circuit’s December

18, 2012 opinion in Netsphere, which according to Plaintiff, vacated the receivership order and

“expressly reversed” the orders authorizing the sales of Domain Names:

       The Fifth Circuit ultimately found that the Receivership Order was outside the
       district court’s jurisdiction and vacated that order. Netsphere v. Baron, 703 F.3d 296
       (5th Cir. 2012). The other district court orders then fell with the Receivership Order.
       In respect to the order[s] permitting the sale of domain names the Fifth Circuit issued
       a judgment holding that “the judgment of the District Court is reversed, and the cause
       is remanded to the District Court for further proceedings in accordance with the
       opinion of this Court.” Id. In light of the lack of district court’s lack of jurisdiction
       over the domain names, the Fifth Circuit expressly reversed the Order[s] approving
       the sale of the domain names. As a matter of simple logic, there is no way the Fifth
       Circuit could have done otherwise in light of its conclusion that the district court
       lacked jurisdiction over the domain names, though many Defendants seem to harbor
       the unfounded, illogical, demonstrably false notion that the Sale Order[s] somehow
       survived in the aftermath of the Netsphere opinion.

Pl.’s Resp. Br. 3-4 (Marshall Action, Doc. 98).

       Plaintiff takes a somewhat different approach in response to the other motions to dismiss.

On one hand, Plaintiff continues to maintain that it is entitled to the return of the Domain Names

because [t]he Fifth Circuit [in Netsphere] directed the [district] [c]ourt to vacate the receivership

order and every single order authorizing any sale of Novo Point, L.L.C.’s domain names.” Pl.’s


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Combined Resp. Br. 17 (Doc. 157) (citation omitted); Pl.’s Resp. Br. to Fortuna Mot. to Dismiss 21

(Doc. 159) (citation omitted). On the other hand, Plaintiff contends that its claims are not barred by

collateral estoppel because neither this court nor the Fifth Circuit previously addressed or had any

reason to address “the issue of the legal validity of the purported sales of domain names by the

receiver in any respect whatsoever, nor has that issue ever been expressly determined by the U.S.

District Court for the Northern District of Texas or any other court.” Pl.’s Combined Resp. Br. 16-

17 (Doc. 157) (footnote omitted); Pl.’s Resp. Br. to Fortuna Mot. to Dismiss 21 (Doc. 159) (footnote

omitted).

        In addition, Plaintiff contends, based on this court’s February 28, 2014 order in Netsphere

(Doc. 1368) vacating the April 22, 2011 order appointing Damon Nelson as manager of Novo Point

and Quantec and January 2, 2014 opinion in Baron v. Schurig both demonstrate that, “after the

remand from the Fifth Circuit, this [c]ourt recognized that due to its lack of subject matter

jurisdiction, all orders entered concerning the receivership were void ab initio.” Pl.’s Combined

Resp. ¶¶ 32-34, 38 (Doc. 155) (citing Baron, 2014 WL 25519, at *14); and February 28, 2014 Order

(Netsphere Action, Doc. 1368)). Plaintiff, therefore, contends that “all of the . . . instruments

purporting to assign the Domain Names are void as well.” Pl.’s Combined Resp. ¶ 38 (Doc. 155).

Plaintiff further asserts that the Fifth Circuit had no authority to and could not have ordered the

purchasers of the Domain Names to return the Domain Names to Novo Point because the purchasers

were not parties to the Netsphere Action or any appeal in that case. In addition, Plaintiff maintains,

based on the Code of Hammurabi,9 that as the owner of the Domain Names, it is entitled to recover


        9
          The Code of Hammurabi is the “oldest know written legal code, produced in Mesopotamia during the rule of
Hammurabi (who reigned from 1792 to 1750 B.C.),” which “consisted of nearly 300 provisions, arranged under headings
such as family, trade, real property, personal property, and labor.” Black’s Law Dictionary 313 (10th ed. 2009).

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this property from those who purchased it if it is shown that the person or merchant who sold the

property was a “thief,” and the purchasers who bought the property receive the money they paid for

the property from the “estate of the merchant.” Pl.’s Combined Resp. Br. 1 (Doc. 157) (citation

omitted).

       Plaintiff contends that Defendants’ motions to dismiss based on various “avoidance

defenses,” including collateral estoppel, are fundamentally flawed and procedurally improper

because they require the court to consider matters outside the pleadings. Plaintiff, therefore,

maintains that the court should strike or deny the motions or, alternatively, convert them to summary

judgment motions and give it a reasonable opportunity to present summary judgment evidence and

additional briefing after conducting discovery.

               3.      Discussion

       “While the district court must accept as true all factual allegations in the complaint, it need

not resolve unclear questions of law in favor of the plaintiff.” Kansa Reinsurance Co., Ltd. v. Cong.

Mtg. Corp. of Tex., 20 F.3d 1362, 1366 (5th Cir. 1994) (citations omitted). Thus, dismissal under

Rule 12(b)(6) is appropriate “when a successful affirmative defense appears on the face of the

pleadings. Id. Further, as explained in Arizona v. California:

       [I]f a court is on notice that it has previously decided the issue presented, the court
       may dismiss the action sua sponte, even though the defense has not been raised. This
       result is fully consistent with the policies underlying res judicata: it is not based
       solely on the defendant’s interest in avoiding the burdens of twice defending a suit,
       but is also based on the avoidance of unnecessary judicial waste.

Arizona v. California, 530 U.S. 392, 412 (2000) (citation omitted). “Normally, in deciding a motion

to dismiss for failure to state a claim, courts must limit their inquiry to the facts stated in the

complaint and the documents either attached to or incorporated in the complaint. However, courts


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may also consider matters of which they may take judicial notice.” Lovelace v. Software Spectrum

Inc., 78 F.3d 1015, 1017-18 (5th Cir. 1996).

       Plaintiff acknowledges, and this court determines, that all of Plaintiff’s claims, except

perhaps its contract claim, stem from and necessarily rely on its contention that the Fifth Circuit

vacated or reversed the receivership order and all orders authorizing the sales of the Domain Names

or all such orders are automatically void and of no effect because the receivership order was

reversed. Plaintiff’s pleadings in this case not only reference the receivership order, the orders

authorizing the sale of the Domain Names, the appeal of those orders by Novo Point and Baron, the

Fifth Circuit’s December 18, 2012 opinion, and the mandate(s) that issued after that opinion, but also

attach many of the court filings and orders at issue. Moreover, as noted, the court can take judicial

notice of such matters and is not bound by Plaintiff’s conclusory allegations regarding the legal

effect of the orders and opinions entered by this court or the Fifth Circuit. Accordingly, as Plaintiff

and Movant Defendants both contend that the district court orders and opinions entered by the

district court and the Fifth Circuit in Netsphere support their respective positions, resolving the

collateral estoppel arguments of Movant Defendants in the context of Rule12(b)(6) is appropriate

and will avoid unnecessary waste of scarce judicial resources.

       The doctrine of collateral estoppel or issue preclusion bars a party from relitigating issues

“litigated and lost” in a prior action. Parklane Hosiery Co., Inc. v. Shore, 439 U.S. 322, 327 (1979).

“[D]efensive collateral estoppel prevents a plaintiff from litigating the same issue against successive

defendants after that issue has been decided adversely to that plaintiff.” Ackerman v. American

Airlines, Inc., 924 F. Supp. 749, 752 (N.D. Tex. 1995). “Application of collateral estoppel does not

require complete identity of parties.” Meadows v. Chevron, U.S.A., Inc., 782 F. Supp. 1189, 1193


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(E.D. Tex. 1991). “[F]ederal courts have repeatedly held that judgments can bind persons not party

to the litigation in question” when the relationship between the party and nonparty is “sufficiently

close.” Southwest Airlines Co. v. Texas Int’l Airlines, 546 F.2d 84, 94-95 (5th Cir. 1977). Thus, a

nonparty can be bound to a prior judgment against the party when the nonparty “succeeded to a

party’s interest in property”; the nonparty “controlled the original suit”; or the nonparty’s “interests

were represented adequately by a party in the original suit.” Id. at 95.

         Although Associated Recovery contends that Novo Point was not a party to the Netsphere

Action, the docket sheet in that case and related appeals reflect that Novo Point had the opportunity

to and did file numerous documents in Netsphere and in appeals to the Fifth Circuit. As Associated

Recovery alleges that its rights and title to the Domain Names and its claims in this action derive

from the assignment from Novo Point, which had a full and fair opportunity to litigate the issues

raised in this case in Netsphere and related appeals, it is precluded from litigating the same issues

Novo Point previously litigated and lost in Netsphere, as long as all of the requirements for collateral

estoppel are satisfied. Similarly, because the relationship between Associated Recovery, Novo Point,

and Baron are sufficiently close,10 Associated Recovery is also barred from litigating the same issues

in this case that Baron argued and lost in Netsphere and related appeals.



         10
            The court’s determination that these parties are sufficiently close is based on Plaintiff’s verified pleadings
in the Virginia Action in which it alleged as follows:

         Novo Point’s predecessor’s-in-interest include Jeffrey Baron (“Baron”) and Ondova Ltd. (“Ondova”).
         Baron acquired the Subject Domain Names, either on his own behalf or on behalf of Ondova, at
         various times in or around 2001 to 2004. By 2010 Novo Point was the registrant of the Subject
         Domain Name and Novo Point remained the registrant and used the domain names to operate
         e-commerce websites until sometime in 2012 when the Subject Domain Names were wrongfully
         transferred from Novo Point.

Pl.’s Verified Compl. ¶ 3 (Virginia Action, Doc. 1). Plaintiff also alleges in this consolidated action that it is
entitled to recover damages suffered by it and Novo Point’s predecessor-in-interest. Pl.’s Compl. ¶ 41.

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         Federal law applies if collateral estoppel is based on the preclusive effect of a federal

judgment “when the first suit is a diversity suit, and the second suit is brought under both diversity

and federal question jurisdiction ‘whether considered as a federal question case or a diversity case.’”

Seven Elves, Inc. v. Eskenazi, 704 F.2d 241, 244 n.2 (5th Cir. 1983), superseded by statute on other

grounds, 11 U.S.C. § 523(a)(6), as recognized In re Delaney, 97 F.3d 800 (5th Cir. 1996) (citation

omitted). Under federal law, the three requirements for collateral estoppel are: “(1) the issue to be

precluded must be identical to that involved in the prior action; (2) in the prior action the issue must

have been actually litigated; and (3) the determination made of the issue in the prior action must have

been necessary to the resulting judgment.” In re Davis, 3 F.3d 113, 114 (5th Cir. 1993) (citation

omitted). If the requirements for collateral estoppel are satisfied, “[i]t does not matter that the claims

in each suit are different, or that the subject matter of each suit is different.” Next Level Commc’ns

LP v. DSC Commc’ns Corp., 179 F.3d 244, 255 (5th Cir. 1999) (citation omitted).

         The issue at stake in this case with respect to all of Plaintiff’s claims, except its breach of

contract claim,11 is identical to the issue that was actually litigated, critical, and necessary to the Fifth

Circuit’s judgments in Netsphere I and III. The issue raised by Associated Recovery in this case and

the issue raised by Novo Point and Baron in Netsphere I is whether the Netsphere receivership and

the seizure and liquidation of Novo Point’s assets to fund the receivership and pay for receivership

fees and expenses were improper such that the orders authorizing the sales of Domain Names and

related sales agreements are void, and Associated Recovery is entitled to the return of the Domain



         11
           As herein explained, although Plaintiff’s contract claim appears to premised at least in part on the same flawed
theory regarding the receivership rulings in Netsphere, the basis for Plaintiff’s contract claim and request for
indemnification is not entirely clear because Plaintiff’s allegations with respect to this claim are conclusory and
insufficient as pleaded. Accordingly, the court does not include this claim in its collateral estoppel analysis and, instead,
addresses it separately in a later section.

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Names. While the Fifth Circuit resolved the receivership issue in Baron’s and Novo Point’s favor

in Netsphere I and reversed the appointment of the receiver after concluding that the district court

lacked authority to establish the receivership to pay Baron’s former attorneys or control his vexatious

litigation conduct, it did not reverse the orders authorizing the sales of Domain Names or

immediately dissolve the receivership; nor did it order this court to return to Baron or Novo Point

the cash generated from the sale of the Domain Names. The Fifth Circuit, instead, for equitable

reasons attributable to Baron’s disruptive conduct, authorized and ordered the district court on

remand to pay the remaining receivership fees and expenses using Novo Point’s assets (cash

generated from sales of the Domain Names), which were part of the receivership. Likewise, in

Netsphere III, the Fifth Circuit held that the issue of whether receivership fees could be charged

against Novo Point’s assets in the receivership was foreclosed by its holding in Netsphere I. The

Fifth Circuit’s determination regarding the disposition of the Novo Point’s assets that were included

in receivership was necessary to its judgment in Netsphere I because it dictated the disposition of

receivership assets and the winding down of the receivership ordered by the court on remand.

Accordingly, all of Plaintiff’s claims against the Movant Defendants, except its breach of contract

claim, are barred by collateral estoppel.

       Moreover, even assuming, as Associated Recovery contends, that the issues in this case and

Netsphere I are not exactly identical because the Fifth Circuit did not expressly address the issue of

the legal validity of the receiver’s sales of the Domain Names, Associated Recovery’s claims still

fail because they are based on the flawed assumption that the sales of the Domain Names were void

ab initio and never divested Novo Point of any right, title, or ownership interest in the Domain

Names because the Fifth Circuit determined in Netsphere I that the district court lacked jurisdiction


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over the Domain Names. As noted by Movant Defendants, this conclusion by Associated Recovery

rests entirely on the reversal of the receivership in Netsphere I while failing to account for the Fifth

Circuit’s: (1) denial of Baron’s and Novo Point’s motions to stay the sales of the Domain Names

pending appeal; (2) holding in Netsphere I that using Novo Point’s assets that were part of the

receivership to pay for receivership fees was an “equitable solution” under the circumstances even

though the receivership was found to be improper, Netsphere, Inc., 703 F.3d at 313; and (3) wording

of the December 31, 2012 clarification order that stated, “The district court orders that were in place

prior to the release of our opinion remain in place.” In re Baron, 593 F. App’x 356, 358, 2014 WL

7251031 (5th Cir. 2014) (quoting Netsphere, Inc. v. Baron, No. 10-11202, slip op. at 6-8 (5th Cir.

31 Dec. 2012)).

         Associated Recovery’s theory also fails to address how the Fifth Circuit could have ordered

the district court to use Novo Point’s assets to pay for receivership fees if, as it contends, the sales

of Novo Point’s Domain Names were void ab initio and Novo Point was never divested of the

Domain Names. Further, the court disagrees that the sales of the Domain Names or sales agreements

under which the Domain Names were sold by the receiver are void ab initio or an absolute nullity

in light of the reversal of the order appointing the receiver and Associated Recovery’s jurisdictional

argument.12 Plaintiff does not cite any authority for its contention that reversal of the receivership

under the circumstances in Netsphere I automatically voided the Domain Name sales and related

sales agreements, and the court is not aware of any such authority. Additionally, as the court in


         12
             “[V]oid” means “[o]f no legal effect”; “null.” Black’s Law Dictionary 1805 (10th ed. 2009). “[V]oid ab initio”
means “[n]ull from the beginning, as from the first moment when a contract is entered into. A contract is void ab initio
if it seriously offends law or public policy, in contrast to a contract that is merely voidable at the election of one party
to the contract.” Id. “The distinction between void and voidable is often of great practical importance. Whenever
technical accuracy is required, void can be properly applied only to those provisions that are of no effect whatsoever—
those that are an absolute nullity.” Id.

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Netsphere III explained, Novo Point’s belief that the district court decided parts of the case

erroneously does not implicate either the district court’s subject matter jurisdiction over the

Netsphere action or the Fifth Circuit’s jurisdiction over the Netsphere appeals. Netsphere, Inc., 657

F. App’x at 324.

       Further, Plaintiff’s reliance on this court’s February 28, 2014 order in Netsphere (Doc. 1368)

and January 2, 2014 opinion in Baron v. Schurig is misplaced, as neither supports Plaintiff’s

contention that “after the remand from the Fifth Circuit, this [c]ourt recognized that due to its lack

of subject matter jurisdiction, all orders entered concerning the receivership were void ab initio.”

Pl.’s Combined Resp. ¶¶ 32-34, 38 (Doc. 155) (citing Baron, 2014 WL 25519, at *14); and February

28, 2014 Order (Netsphere Action, Doc. 1368). In Baron v. Schurig, the court concluded that the

mandate rule precluded the relief sought by Baron’s former attorneys as petitioning creditors in the

involuntary bankruptcy brought against him because the former attorneys sought to have their fees

paid from the receivership assets pursuant to the May 11, 2011 Fee Order entered by Judge Furgeson

that was based on the improper Receivership Order. The court determined that using the Fee Order

as a basis to pay Baron’s former attorneys using the receivership assets would circumvent the Fifth

Circuit’s holding and mandate in Netsphere I that directed the court to award the receiver’s

remaining reasonable fees from the receivership cash assets, but not Baron’s former attorney’s fees.

Baron, 2014 WL 25519, at *14. The court also indicated there was some evidence that a bona fide

dispute existed regarding the amount of fees that precluded the relief sought by Baron’s former

attorneys. Id. at *13.

       Moreover, the court’s February 28, 2014 decision to vacate the order appointing Damon

Nelson to manage Novo Point and Quantec and not conduct extensive hearings before winding down


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the receivership in Netsphere has no relevance to the issue in this case whether Netsphere I

automatically reversed or voided the orders authorizing the sales of Novo Point’s Domain Names.

The February 28, 2014 order pertains to domain names registered or owned by Novo Point and

Quantec that were never sold and which the Fifth Circuit ordered this court to return to Baron or the

owners of the assets in winding down the receivership. The issue with respect to these assets was

not so much who owned the assets, but who had authority to act on behalf of Novo Point and

Quantec for purposes of receiving the assets when the receivership was wound down.

       Moreover, as noted in this court’s March 27, 2015 opinion, this issue was created by Baron

and others acting on his behalf in another shameful effort to manipulate the proceedings in Netsphere

and the related bankruptcy proceedings and affect the manner in which the receivership assets were

returned to the receivership parties. Netsphere, Inc. v. Baron, 3:09-CV-0988-L, 2015 WL 1400543,

at *3, 10 n.3, 9 (N.D. Tex. Mar. 27, 2015).       The court had no reason to believe that it could

realisticly resolve in an expeditious manner the issue of who owned or had authority to control Novo

Point, Quantec, or these entities’ assets when Baron, his attorneys, and others acting on his behalf

had successfully thwarted Judge Furgeson’s and the bankruptcy court’s efforts in getting to the

bottom of this same issue for several years. Moreover, the court believed that engaging in such an

elusive venture would further delay the winding down of the receivership unnecessarily. The court

similarly believed, albeit mistakenly, that vacating the order appointing Damon Nelson to manage

Novo Point and Quantec would alleviate confusion and expedite the winding down and return of the

assets remaining in the receivership as mandated by the Fifth Circuit. The assets in this case, on the

other hand, pertain to Novo Point’s Domain Names that were sold and liquidated to pay receivership

fees in accordance with the Fifth Circuit’s holding and mandate in that case.


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        Accordingly, for the foregoing reasons, the court concludes that, because the orders

authorizing the sales of Domain Names and related sales agreements were not reversed or voided

as a result of Netsphere I, Novo Point had no ownership or possessory rights to the Domain Names

to assign to Associated Recovery, and without such rights Plaintiff is not entitled to the declaratory

judgment relief requested and has not stated valid claims for relief based on alleged ACPA

violations; unfair competition; common law trademark infringement; conversion; or intentional

interference with an existing contract. Plaintiff’s equitable claim for unjust enrichment similarly

fails because it is based on Plaintiff’s contention that Defendants would be unjustly enriched if

allowed to keep the Domain Names and profit derived from the Domain Names purchased by them

in light of the Fifth Circuit’s ruling in Netsphere I. Thus, all of Plaintiff’s claims, except its breach

of contract claim, fail as a matter of law and will be dismissed with prejudice under Rule 12(b)(6)

for failure to state a claim upon which relief can be granted.

        B.      Plaintiff’s Remaining Breach of Contract Claim

        Consolidated Defendants contend that Plaintiff’s breach of contract claim is also barred by

collateral estoppel, as it is based on the same theory that the Domain Name sales and sales

agreements are void. This argument may be true, but the court cannot make such a determination

at this time, as it is unclear from Plaintiff’s vague and conclusory allegations what the factual bases

are for this claim. In its Third Amended Complaint, Plaintiff includes an indemnity provision from

a Domain Name sales agreement and alleges in conclusory fashion as follows with respect to its

“Alternative Claim[] for Breach of Contract and Recover of Attorneys’ Fees”:

               Under the express terms of the transactions described supra ¶ 21-27 of this
        amended complaint, Registrant Defendants SocialBon Inc., Floridians LLC, Media
        Options Inc., Strong Inc., Telepathy Inc., News Ltd., JRS Holdings LLC, Sylvia
        O’Donohoe, Virtual Investments LLC, and Quinn Vesey each became contractually

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       obligated to “pay to the applicable Seller Releasee [including Novo Point and its
       successor and assign, Associated Recovery] the amount of any and all Losses arising
       out of, based upon or relating to any of the Domain Names or any in connection with
       any intellectual property claim or ownership claim related to the Domain Names.”
       Therefore, if this Honorable Court does not order each of those Registrant
       Defendants to transfer each Domain Name purportedly assigned to each such
       Registrant Defendant, then strictly in the alternative, Associated Recovery seeks
       judgment against each of those Registrant Defendant’s for any and all Losses arising
       out of, based upon or relating to any such Domain Name or identical Mark, and
       reasonable and necessary attorneys’ fees incurred in prosecuting such contract claim,
       pursuant to Chapter 38 of the Texas Civil Practices and Remedies Code.

Pl.’s Compl. ¶ 49. In its motion-to-dismiss response, Plaintiff similarly quotes an indemnity

provision and contends in conclusory fashion that it is entitled to recover “all Losses arising out of,

based upon or related to any of the Domain Names.” Pl.’s Consolidated Resp. ¶ 39 (Doc. 155).

Plaintiff references paragraphs 21 through 27 of its Complaint in support of the breach of contract

claim, but the factual allegations in these paragraphs do not shed any light on whether the listed

Registrant Defendants are parties to a sales agreement containing the indemnity provision quoted

by Plaintiff; what losses Plaintiff has incurred “arising out of, based upon or related to any of the

Domain Names”; or why Plaintiff believes any such losses are recoverable based on the contractual

language in the indemnity clause. For example, it not clear whether Plaintiff contends that it or

Novo Point suffered losses because of Defendants’ alleged conduct or as a result of the receivership.

       Consolidated Defendants also contend that Plaintiff’s breach of contract claim against

Defendant Telepathy, Inc. fails because Telepathy, Inc. did not purchase any Domain Names from

Novo Point and did not agree to be bound by the contract terms referenced in Plaintiff’s Third

Amended Complaint. Based on a Domain Name Assignment and Transfer Agreement attached to

Consolidated Defendants’s motion to dismiss, which includes indemnity language that is slightly

different from that included in Plaintiff’s pleadings, Consolidated Defendants also contend that


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Plaintiff’s breach of contract claim fails because it is not based on “any intellectual property claim

or ownership claim.” Because of the insufficiency of Plaintiff’s pleadings, the court cannot determine

whether Telepathy, Inc. purchased the Domain Names in question in this case from Novo Point or

was a party to a Domain Name sales agreement. Likewise, while the court can consider documents

attached to a defendant’s motion to dismiss that are referred to in the plaintiff’s complaint and are

central to the plaintiff’s claims, the terms of the agreement attached to Consolidated Defendants’

motion to dismiss differ slightly from those quoted in Plaintiff’s pleadings, and the agreement relied

on by Consolidated Defendants does not pertain to any Defendant that Plaintiff has sued for breach

of contract.

       Finally, Consolidated Defendants contend that Plaintiff’s breach of contract claim is barred

by the statute of limitations. Plaintiff contends that dismissal at this juncture on a statute of

limitations defense is improper under Rule 12(b)(6).

       A statute of limitations may support dismissal pursuant to Rule 12(b)(6) when it is evident

from a plaintiff’s pleadings that the action is time-barred and the pleadings fail to set forth or raise

some basis for tolling the statute. Jones v. Alcoa, Inc., 339 F.3d 359, 366 (5th Cir. 2003) (citations

omitted). At this time, however, it is not evident from the pleadings whether Plaintiff’s breach of

contract claim is time-barred. To make this determination, the court would first need to determine

which state’s law governs the contract claim. The agreement attached to Consolidated Defendants’

motion to dismiss contains a provision that calls for the application of Texas law, but, as noted, the

language in this agreement is not identical to that in the agreement language quoted by Plaintiff, and

the agreement relied on by Plaintiff is not attached to its Complaint. Further, the parties disagree

about which state’s law applies to Plaintiff’s state law claims, and the court does not have sufficient


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information to conduct the fact-intensive choice-of-law analysis necessary to make this

determination. Additionally, the parties’ briefs do not address in any detail this issue, the relevant

legal standard, or application of the facts in this case to the standard. Accordingly, resolution of

whether Plaintiff’s contract claim is barred by the statute of limitations is premature. For all of these

reasons, the court will deny Consolidated Defendants’ motion to dismiss Plaintiff’s breach of

contract claim.

        C.        Sua Sponte Dismissal of Same Claims Against Remaining Defendants

        A district court may sua sponte dismiss a complaint under Rule 12(b)(6) “as long as the

procedure employed is fair.” Carroll v. Fort James Corp., 470 F.3d 1171, 1177 (5th Cir. 2006)

(citation omitted ). Fairness in this context usually “requires both notice of the court’s intention and

an opportunity to respond.” Id. (citation omitted). Sua sponte dismissal without notice and

opportunity to respond, however, is appropriate when there is no prejudice to the plaintiff. See

Taylor v. Acxiom Corp., 612 F.3d 325, 330 (5th Cir. 2010) (concluding in consolidated action

involving more than seventy-five defendants, that, “[w]hile the district court did dismiss sua sponte

some defendants who did not join the motion to dismiss, there is no prejudice to the plaintiffs in

affirming the judgment in its entirety because the plaintiffs make the same allegations against all

defendants.”).

        Like Taylor, some but not all of the numerous Defendants in this consolidated action filed

motions to dismiss or joined in the motions to dismiss. In addition, Plaintiff’s claims against the

nonmoving Defendants are identical to those asserted against Movant Defendants in that they are

based on the same factual allegations and legal theories. Moreover, Plaintiff had the opportunity to

file several lengthy responses and briefs to Movant Defendants’ motions to dismiss. As the grounds


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included in the motions to dismiss form the basis for the court’s sua sponte determination that

dismissal of the same claims by Plaintiff against the remaining Defendants is appropriate under Rule

12(b)(6), and Plaintiff has already had an opportunity to respond at length to the motions to dismiss,

the court concludes that Plaintiff would not be prejudiced and it would not be unfair if the same

claims based on the same facts against the remaining nonmoving Defendants are dismissed with

prejudice before giving Plaintiff notice and a further opportunity to respond to the same grounds for

dismissal. See id. Accordingly, for the reasons already explained, the court determines that all of

Plaintiff’s claims against the remaining Defendants, except Plaintiff’s breach of contract claim, are

barred by collateral estoppel and will sua sponte dismiss with prejudice these claims against the

remaining Defendants under Rule 12(b)(6) for failure to state a claim upon which relief can be

granted.

       D.      Plaintiff’s Request to Amend its Pleadings

       Associated Recovery requests to amend its pleadings to cure any defects if the court

determines that Defendants’ motions to dismiss should be granted. Movant Defendants oppose

Plaintiff’s request to amend its pleadings, contending:

       Since this case began, Plaintiff has cycled through numerous counsel, filed multiple
       amended complaints, and received numerous lengthy extensions. During that time,
       Plaintiff’s position has only worsened as this Court and the Fifth Circuit have issued
       additional rulings that defeat its claims, on top of earlier rulings that also defeat its
       claims. Plaintiff’s case is futile. The time has come to dismiss it with prejudice.

Consolidated Defs.’ Reply 6 (Doc. 163).

       Plaintiff has amended its pleadings a few times, including after Defendants moved the first

time to dismiss its claims. Moreover, the court has determined that all of Plaintiff’s claims, except

its breach of contract claim, fail as a matter of law because they are based on the erroneous


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conclusion that the district orders in Netsphere authorizing the sale of the Domain Names were

expressly reversed by the Fifth Circuit or are void ab initio as a result of the Fifth Circuit’s

December 18, 2012 opinion and opinions of this court such that none of the sales or transfers of

ownership of the Domain Names divested Novo Point of any right, title, or ownership interest. The

court, therefore, believes that Plaintiff has stated its “best case” and cannot improve upon or

supplement the allegations as pleaded with respect to these claims. Thus, further attempts to amend

these claims would be futile and unnecessarily delay the resolution of this action. Accordingly, the

court will deny Plaintiff’s request to further amend its pleadings with respect to these claims that the

court has determined will be dismissed with prejudice.

        Regarding Plaintiff’s remaining claim for breach of contract, the allegations in Plaintiff’s

Third Amended Complaint are insufficient to raise a right to relief for breach of contract above the

speculative level against the remaining Defendants, but the court will allow Plaintiff to amend its

pleadings with respect to this claim because it is unclear at this juncture whether amendment as to

this claim would be futile. Accordingly, the court will grant Plaintiff’s request to amend its

pleadings with respect to its breach of contract claim against Defendants SocialBon, Inc.; Floridians,

LLC; Media Options, Inc.; Strong, Inc.; Telepathy, Inc.; News, Ltd.; JRS Holdings, LLC; Sylvia

O’Donohoe; Virtual Investments, LLC; and Quinn Vesey. Given the opportunities that Plaintiff has

had to amend its pleadings and the court’s prior directive to Plaintiff on March 23, 2017, to amend

its pleadings to include all of its claims against all defendants, the court will not allow Plaintiff to

add any additional parties or claims. Plaintiff’s amended pleading with respect to it breach of

contract claim must allege whether the Defendants at issue are parties to the written agreement relied

on by Plaintiff, and, if not, the factual bases for which nonparties to the written agreement can be


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held liable for breach of the agreement pursuant to the indemnity provision. Further, Plaintiff must

allege the factual bases for the losses it contends that it is entitled to recover under the indemnity

provision that arise out of, are based upon, or relate to the Domain Names associated with the

Defendants sued for breach of contract. For example, Plaintiff must allege facts as to whether the

losses are attributable to the allegedly reduced market value sale price of the Domain Names

referenced in the Third Amended Complaint; whether the losses are attributable to Plaintiff’s loss

of the Domain Names and related profits the Domain Names could have generated if the Domain

Names had not been sold by the receiver; some conduct that Defendants sued for breach of contract

engaged in after purchasing the Domain Names; or other reason(s).

       E.      Motion for Substitute Service and Extension of Time (Doc. 103)

       In its March 28, 2017 motion, Plaintiff requests additional time to serve the handful of

Marshall Defendants referenced in the court’s March 10, 2017 show cause order that was entered

in Civil Action No. 3:16-CV-651-L. Plaintiff’s motion is moot with respect to Vivian Rosenthal,

MOINC-US, Steve Parma, and Kate Spade because these persons and entities were not included as

Defendants in Plaintiff’s Third Amended Complaint and, therefore, are no longer parties to this

action. The motion is also moot with respect to SocialBon, Inc. and JRS Holdings, LLC, as Plaintiff

filed documents on March 30, 2017, that indicate these Defendants were served in June 2016. Of

the Marshall Defendants referenced in the court’s show cause order, this leaves only William

Wolfson; Sol Perlstein; TobyClements.com, LLC; Janno, LLC; Floridian, LLC; News, Ltd.;

Worldwide Retailing, LLC; Sylvia O’Donohoe; Dharshinee Naidu; and GoldRun, Inc. that are the

subject of the court’s show cause order. Plaintiff states that it has attempted unsuccessfully to serve

these Defendants, which are believed to be located in foreign countries or states other than Texas,


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in accordance with Texas law and requests to serve these Defendants by substitute service by either

publication or e-mail. Although not referenced in the court’s show cause order, Plaintiff also requests

to serve Media Options, Inc. by publication or e-mail for the same reason. William Wolfson; Sol

Perlstein; TobyClements.com, LLC; Janno, LLC; Worldwide Retailing, LLC; Dharshinee Naidu;

and GoldRun, Inc. have not been sued for breach of contract, Plaintiff’s only remaining claim.

Accordingly, Plaintiff’s motion as to these Defendants is moot. With respect to the Defendants that

Plaintiff has sued for breach of contract, this leaves only Floridian, LLC; News. Ltd.; Sylvia

O’Donohoe; and Media Option, Inc. that were identified in the court’s show cause order or

referenced in Plaintiff’s motion. The court will deny without prejudice Plaintiff’s Motion for Leave

for Substitute Service and Extend Period for Service (Doc. 103) with respect to Floridian, LLC;

News. Ltd.; Sylvia O’Donohoe; and Media Option, Inc. and will deny as moot the motion in all other

respects.

IV.    Conclusion

       For the reasons stated, the court grants Defendants’ Motions to Dismiss under Rule 12(b)(6)

(Docs. 129, 132, 135, 143) with respect to all of Plaintiff’s claims, except Plaintiff’s breach of

contract claim; grants BIG’s Motion to Dismiss (Doc. 89) filed in Civil Action 3:17-CV-651-L;

dismisses with prejudice all of Plaintiff’s claims and requests for relief, except Plaintiff’s breach

of contract claim, against the Movant Defendants under Federal Rule of Civil Procedure 12(b)(6)

for failure to state a claim upon which relief can be granted. Further, except Plaintiff’s breach of

contract claim, the court sua sponte dismisses with prejudice all claims by Plaintiff with respect

to the remaining internet Domain Names and Defendants, as these claims are identical to those that

the court has already dismissed and determined to be fundamentally flawed in ruling on moving the


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Movant Defendants’ motions to dismiss. Plaintiff’s Motion for Leave for Substitute Service and

Extend Period for Service (Doc. 103) is denied without prejudice as to Defendants Floridians,

LLC; Media Options, Inc.; News, Ltd.; and Sylvia O’Donohoe and denied as moot as to all other

Defendants. Plaintiff’s request to amend its pleadings is granted with respect to its breach of

contract claim and denied in all other respects. Plaintiff shall file an amended pleading by April

11, 2018, that cures the deficiencies herein noted. Failure to do so will result in the dismissal of

Plaintiff’s remaining contract claim with prejudice pursuant to Rule 12(b)(6). The court will not

extend this deadline.

       It is so ordered this 28th day of March, 2018.



                                                     _________________________________
                                                     Sam A. Lindsay
                                                     United States District Judge




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